         Case 2:18-cr-00014-LGW-BWC Document 492 Filed 11/09/18 Page 1 of 3



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

UNITED STATES OF AMERICA                  )
                                          )      CASE NO. CR 218-014
v.                                        )
                                          )
EDRIN TEMPLE                              )
                                          )

         NOTICE OF INTENT TO INTRODUCE EVIDENCE PURSUANT TO
                 FEDERAL RULE OF EVIDENCE 404(b) AS TO
                       DEFENDANT EDRIN TEMPLE

          The United States of America, by and through Bobby L. Christine, United

States Attorney for the Southern District of Georgia, hereby provides the following

notice pursuant to Fed. R. Evid. 404(b) and SDGA Local Rule 16.2:

          1.    Pursuant to Fed. R. Evid. 404(b) and SDGA Local Rule 16.2, the

government intends to offer during its case-in-chief a certified copy of the following

prior felony conviction of Defendant Edrin Temple:

         Sale of a Controlled Substance, McIntosh County Superior Court, Charge No.

          00065935870003, on September 8, 2000;

         Purchase, Possession, Manufacture, Distribution, or Sale of Marijuana,

          Brunswick Municipal Court, Case No. 001280, on April 6, 2005;

         Possession of Cocaine with Intent to Distribute, McIntosh County Superior

          Court, Case No. 14CR00128, on November 29, 2016.

          2.    Rule 404(b) allows for the admission of evidence of other crimes, wrongs,

or acts as proof of motive, opportunity, intent, preparation, plan, knowledge, identity,
    Case 2:18-cr-00014-LGW-BWC Document 492 Filed 11/09/18 Page 2 of 3



or absence of mistake or accident. Fed. R. Evid. 404(b). See also United States v.

Baker, 732 F.3d 1189, 1204 (11th Cir. 2005); United States v. Taylor, 17 F.3d 333

(11th Cir. 1994); United States v. Beechum, 582 F.2d 898 (5th Cir. 1978); United

States v. McMahon, 592 F.2d 871 (5th Cir. 1979). The prior conviction shown above

are probative of intent, knowledge, motive, and absence of mistake and its probative

value outweighs the danger of unfair prejudice. The convictions are also relevant to

an issue other than the character of the defendant. The prior convictions constituting

extrinsic evidence involve similar elements and state of mind as the drug offenses

indicted in Counts One and Nineteen of the Indictment. The convictions’ finality

establish that the defendant committed the extrinsic offenses.

                                          Respectfully submitted,

                                          BOBBY L. CHRISTINE
                                          United States Attorney

                                 By:      s/ Matthew A. Josephson
                                          Assistant United States Attorney
                                          GA Bar Number 367216
      P.O. Box 8970
      Savannah, Georgia, 31412
      912-652-4422.




                                          2
    Case 2:18-cr-00014-LGW-BWC Document 492 Filed 11/09/18 Page 3 of 3




                            CERTIFICATE OF SERVICE

      The undersigned AUSA hereby certifies that a copy of this pleading has been

filed in the ECF system and therefore served on the defendant.



                                         Respectfully submitted,

                                         BOBBY L. CHRISTINE
                                         United States Attorney

                               By:       s/ Matthew A. Josephson
                                         Assistant United States Attorney
                                         GA Bar Number 367216
      P.O. Box 8970
      Savannah, Georgia, 31412
      912-652-4422.




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